Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2354   Page 1 of 14




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 United States of America,

             Plaintiff,
                                                Case No: 17-20595
 v.
                                                Hon. Marianne O. Battani
 Yousef Mohammad Ramadan,

             Defendant.

          GOVERNMENT’S RESPONSE TO DEFENDANT’S
               MOTION TO DISMISS (Doc. # 129)

       In February 2019, defendant Yousef Ramadan, through his

 counsel, requested that the United States provide photographs taken of

 two apartments in which Ramadan formerly lived (the government

 previously provided a report documenting the taking of these pictures).

 The government immediately complied with Ramadan’s request. These

 pictures were taken four months after the Complaint in this case in two

 locations miles away from Ramadan’s storage unit where officers found

 the weapons that form the basis of the charges in this case.

       These pictures are not discoverable under Rule 16, the Court’s or

 the district’s Discovery Orders, or the government’s Brady obligations—

                                       1
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2355   Page 2 of 14




 but the United States nonetheless provided them immediately upon the

 defendant’s request, and more than three months prior to trial.

       Defense counsel now claims a discovery violation and asks this

 Court to impose the harshest of penalties: dismissal of the indictment.

 Yet defense counsel neither attempted to show that these photographs

 are material to his defense nor provided any authority or support for

 their claim that the government failed to comply with its discovery

 obligations.

       For the reasons stated in the attached brief, the Court should

 deny Ramadan’s baseless motion.


                                           Respectfully submitted,

                                           Matthew Schneider
                                           United States Attorney

                                           s/Benjamin Coats
                                           Benjamin Coats
                                           Hank Moon
                                           Assistant U.S. Attorneys
                                           211 W. Fort St., Ste. 2001
                                           Detroit, MI 48226
                                           (313) 226-9734
                                           Benjamin.Coats@usdoj.gov

 April 15, 2019

                                       2
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2356   Page 3 of 14




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 United States of America,

             Plaintiff,
                                                Case No: 17-20595
 v.
                                                Hon. Marianne O. Battani
 Yousef Mohammad Ramadan,

             Defendant.

      GOVERNMENT’S BRIEF IN RESPONSE TO DEFENDANT’S
              MOTION TO DISMISS (Doc. # 129)

       In February 2019, Ramadan asked for and immediately received

 photographs of two apartments that he had once lived in, taken after he

 was no longer living there (these photographs were taken in December

 2017—four months after the Complaint in this case). Ramadan does not

 even attempt to argue that these pictures are somehow material to his

 guilt or innocence of the charges against him, which involve firearms

 and a silencer found in an entirely different place (a storage unit located

 4.8 and 7.9 miles away from the apartments).

       Instead, Ramadan says those photos would have been useful in his

 bond hearing and that he “languishes in federal custody due in large


                                       3
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2357   Page 4 of 14




 part to the government’s recalcitrance in providing court ordered

 discovery.” [R. 129 at 7]. But Ramadan filed a new bond motion [R. 124]

 several weeks after receiving these photographs and the Court held a

 second bond hearing one week later: Ramadan never mentioned the

 photographs. He did not bother to even mention the photographs in

 either his written brief or at the hearing, despite being asked

 specifically what new information he could provide the Court as to why

 he should be released. And no part of this Court’s first or second bond

 denials is undermined by these photographs.

       Despite all of this, Ramadan now asks this Court to impose the

 most extreme remedy—dismissal of the case—for an alleged discovery

 violation that (1) is not a violation of Rule 16 or an order of this Court;

 (2) does not involve any exculpatory information but does involve

 information already known to the defendant; (3) was provided as soon

 as defense counsel requested the information; (4) was not intentional or

 in bad faith; (5) did not prejudice the defendant; and (5) if it needed to

 be cured, could be addressed with a less severe course of action.




                                       4
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2358   Page 5 of 14




                                    Facts

       Ramadan is charged with illegal possession of firearms and a

 silencer based on a search of a storage unit on August 23, 2017. At some

 point before that date, he lived in two apartments in Ypsilanti.

 Ramadan fired a gun from the window of one or both of these

 apartments on at least two occasions. On December 14, 2017, an

 investigator visited the two apartments that Ramadan previously lived

 in and took photographs. At least as early as December 2018, Ramadan

 knew those photographs had been taken, since it was documented in an

 FBI report that was turned over to him by undersigned counsel at that

 point (if the FBI report had not been disclosed earlier). On February 19,

 2019, Ramadan asked (through counsel) for a copy of the photographs

 described in that report. The government agreed, and they were hand-

 delivered to his counsel on February 21: two days after the request.

         No Violation of Court or Standing Discovery Orders

       Notwithstanding the government’s immediate compliance with

 the only request Ramadan has ever made for these photos, the

 defendant does not hesitate in his motion to level reckless accusations,

 notably that “[t]his Court ordered the government to provide the
                                       5
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2359   Page 6 of 14




 requested materials to defendant but they have disregarded the

 defendant’s demand for the court ordered information.” [R. 129 at 7].

 Ramadan goes further, charging the government with disregarding its

 “obligations under the … Court’s unambiguous orders.” Id. (emphasis

 added). Yet the defendant fails to cite to any order or hearing in support

 of these allegations, so the government and Court can only guess at

 what “unambiguous” order Ramadan now refers—an order that

 allegedly required the government to turn over photos of Ramadan’s

 previous apartments—apartments Ramadan obviously knew about.

       On June 12, 2018, the Court ordered the government to produce

 policies relating to retention of law enforcement officers’ notes, the

 identities of agencies employing the investigators who interacted with

 Ramadan on August 15, 2017, and particular impeachment information

 relating to a specific FBI agent. [R. 82 at 2]. That can’t be it. And a

 comprehensive review of the docket reveals no other order,

 “unambiguous” or otherwise, that required disclosure of the photos of

 the defendant’s own apartment.

       Ramadan alleges a violation, too, of the Standing Discovery Order,

 Administrative Order 03-AO-027, but this reference is as mystifying as
                                       6
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2360   Page 7 of 14




 the last. With respect to the substance of that disclosure, that Order

 merely incorporates Rule 16(a)(1) and the government’s obligation to

 disclose exculpatory evidence under Brady. It imposes no freestanding

 obligation; presumably, Ramadan includes it merely to make the list of

 supposed violations longer or more impressive.

                            No Brady Violation

       Ramadan’s Brady argument misses the mark, for several reasons.

 First, it’s always good to remember that Brady isn’t a discovery rule, it’s

 a due process one—there isn’t a general constitutional right to

 discovery. See Pennsylvania v. Ritchie, 480 U.S. 39, 59-60 (1987);

 United States v. Winner, 641 F.2d 825, 833 (10th Cir. 1981). The alleged

 violation is pretrial, and “Brady generally does not apply to delayed

 disclosure of exculpatory information, but only to a complete failure to

 disclose.” See United States v. Bencs, 28 F.3d 555, 560–61 (6th Cir.

 1994). “Delay only violates Brady when the delay itself causes

 prejudice.” Id. at 561. “The Brady rule ‘only applies to evidence that was

 known to the prosecution, but unknown to the defense, at the time of

 trial.’” Abdur’Rahman v. Colson, 649 F.3d 468, 474 (6th Cir. 2011)

 (quoting Apanovitch v. Houk, 466 F.3d 460, 474 (6th Cir. 2006)).
                                       7
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2361   Page 8 of 14




       Ramadan doesn’t even try to argue that the information revealed

 by the photos was unknown to him before their disclosure, which by

 itself should be fatal to his Brady claim. See United States v. Clark, 928

 F.2d 733, 738 (6th Cir. 1991) (“No Brady violation exists where a

 defendant knew or should have known the essential facts permitting

 him to take advantage of any exculpatory information.”). These were

 pictures of Ramadan’s previous apartments. Of all people, certainly

 Ramadan knows where he has lived (and from what windows he fired

 his guns). As the Court may recall, the videos of Ramadan firing

 weapons out of these apartment windows were found on Ramadan’s

 own media storage drives and were played at his first bond hearing.

       Perhaps most importantly, Ramadan fails to provide an

 explanation of how this information is “exculpatory.” At most, he argues

 it might have affected the outcome of his bond hearing, an unusual

 application of “exculpatory” and a theory for which he provided no

 supporting citations. Cf. United States v. Ruiz, 536 U.S. 622, 629 (2002)

 (observing that a prosecutor has no obligation “to share all useful

 information with the defendant” during pretrial plea negotiations);

 Clark, 928 F.2d at 738 (holding that “the government had no duty to
                                       8
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2362   Page 9 of 14




 disclose the evidence under Brady because it was not material to

 defendant’s guilt”) (emphasis added).

       But we don’t have to guess whether the photos would have

 changed that outcome: we know that they would not have, and

 Ramadan does, too. Ramadan had the photos, by his own admission, on

 February 21, 2019. He filed a bond motion on March 5, 2019 [R. 124],

 and did not mention the photographs or whatever exculpatory

 information they supposedly revealed to him—a former resident of the

 very places depicted in the photos—for the first time on February 21,

 2019. At the hearing on that motion on March 12, the Court pressed

 counsel for Ramadan on the specific question of whether new

 information had been learned that would justify the Court changing its

 initial bond determination. Counsel said many things in response, but

 none of those statements had anything to do with the photos of the

 Ramadan’s apartments.

       And it is important to remember that the United States told

 Ramadan, in its motion opposing Ramadan’s motion for bond filed back

 in June 2018, that it recovered the videos of the defendant shooting out

 of the windows of at least one of his apartments in Ypsilanti from his
                                       9
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2363   Page 10 of 14




  media device. [R. 86 at 19]. Counsel for the United States then played

  these videos at Ramadan’s bond hearing three weeks later.

        The government fails to see how pictures of Ramadan’s own

  apartment—taken months after Ramadan moved out; months after the

  Complaint in this case—are either unknown to him or exculpatory.

                            No Rule 16 Violation

        Ramadan does cite specifically to Rule 16(a)(1)(E), locating the

  government’s obligation to turn over photos of his apartment in

  subsection (i) because, he alleges, they were “material to preparing the

  defense.” He does not explain further, unfortunately, in what way these

  photos of a place that (1) he unquestionably knew well and (2) is

  different from the place where the things he illegally possessed were

  found are nevertheless material to the preparation of his defense.

        But he can’t just say it was material, he has to explain how. “A

  defendant does not satisfy [the] requirement that an object be ‘material

  to the preparation of the defendant’s defense’ by means of merely

  conclusory arguments concerning materiality.” United States v. Phillip,

  948 F.2d 241, 250 (6th Cir. 1991) (internal citation omitted).

        And “defense,” in Rule 16(a)(1)(E)(i), means the “defendant’s
                                       10
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2364   Page 11 of 14




  response to the Government’s case in chief.” United States v. Armstrong,

  517 U.S. 456, 462 (1996). Ramadan’s explanation of materiality, if he

  comes up with one, needs to “refute the Government’s arguments that

  the defendant committed the crime charged” to fit under this rule. See

  id.; see also United States v. Robinson, 503 F.3d 522, 532 (6th Cir.

  2007).

        It bears repeating that we’re talking about photographs of a place

  in which the defendant lived—that were taken months after the

  defendant lived there. His argument seems to be that these

  photographs are material to his defense because he could use them—

  though he did not even when the Court gave him a clear opportunity to

  do so—to establish that he wasn’t putting anyone in danger by firing his

  gun out of the window of that apartment, as depicted in the video

  recording that he has had since the beginning of this case. To state the

  argument plainly is to demonstrate its absurdity.

                            Dismissal Improper

        Since no rule or obligation was violated, no remedy is required.

  But even if there had been a violation, it wouldn’t be proper to skip

  right to the most severe sanction: dismissal. For one thing, “the Sixth
                                       11
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2365   Page 12 of 14




  Circuit has cautioned against imposing harsh sanctions for Rule 16

  violations when the failure to disclose amounts to only negligence, as

  opposed to intentional violations or those done in bad faith.” United

  States v. McClain, 2017 WL 3710806, at *3 (W.D. Ky. August 28, 2017)

  (citing United States v. Ganier, 468 F.3d 920, 928 (6th Cir. 2006), and

  United States v. Moody, 132 F.3d 34, at *4 (6th Cir. 1997) (Table)). For

  another, the framework for crafting a remedy for a discovery violation

  requires the imposition of the least severe sanction that is necessary.

  See United States v. Maples, 60 F.3d 244, 247 (6th Cir. 1995).

        Ramadan alleges intentionality and bad faith but proffers no facts

  in support of that serious accusation. To be clear, the government’s

  position is that it was under no obligation to disclose those photographs

  until at least the defendant’s specific request on February 19, 2019, and

  probably not even then. But if the Court disagreed with that and held

  the government failed to disclose the photos when it should have, there

  would still be no basis for characterizing that failure as anything other

  than mere negligence.

        As noted above, the defendant has suffered no prejudice. The

  ordinary remedy, when discovery is turned over late in the pretrial
                                       12
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2366   Page 13 of 14




  process (or mid-trial), is continuance. Ramadan doesn’t ask for that

  here, even as an alternative remedy, because he doesn’t need any time

  to assimilate this information into his planned defense. That, in turn,

  undermines his materiality argument.

                                 Conclusion

        For the foregoing reasons, the defendant’s motion to dismiss is

  meritless and should be denied.

                                            Respectfully submitted,

                                            Matthew Schneider
                                            United States Attorney

                                            s/Benjamin Coats
                                            Benjamin Coats
                                            Hank Moon
                                            Assistant U.S. Attorneys
                                            211 W. Fort St., Ste. 2001
                                            Detroit, MI 48226
                                            (313) 226-0220
                                            Hank.moon@usdoj.gov

  April 15, 2019




                                       13
Case 2:17-cr-20595-VAR-EAS ECF No. 131 filed 04/15/19   PageID.2367   Page 14 of 14




                       CERTIFICATE OF SERVICE

      I hereby certify that on April 15, 2019, I filed the foregoing
  document on the ECF system, which will send notice to Andrew
  Densemo and Colleen Fitzharris, attorneys for the defendant.


                                            s/Benjamin Coats
                                            Benjamin Coats
                                            Hank Moon
                                            Assistant U.S. Attorneys
                                            211 W. Fort St., Ste. 2001
                                            Detroit, MI 48226
                                            (313) 226-9734
                                            Benjamin.Coats@usdoj.gov




                                       14
